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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ZACHARY GREENBERG                         :
                                          :     CIVIL ACTION
                     Plaintiff            :
                                          :     NO. 2:20-CV-3822
               v.                         :
                                          :
JOHN P. GOODRICH, in his                  :
official capacity as Board Chair of the   :     Hon. Chad F. Kenney
Disciplinary Board of the Supreme         :
Court of Pennsylvania, et al.             :
                                          :
                     Defendants           :


                  Defendants’ Declaration of Authenticity
     Regarding the Parties’ Discovery Responses for Summary Judgment

        For purposes of Defendants’ Motion for Summary Judgment, undersigned

 counsel verifies that the attached Exhibits are authentic copies of the parties’

 respective discovery responses in this case. Defendants have not included

 documents attached to Plaintiff’s Answers to Interrogatories as Defendants do not

 rely on them.

                                          Respectfully submitted,


                                          s/Michael Daley
                                          Michael Daley, Esquire
                                          Attorney I.D. No. PA 77212
                                          Megan L. Davis, Esquire
                                          Attorney I.D. No. PA 321341
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                                          (215)560-6326, Fax (215)560-5486
                                          Attorneys for Defendants
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                   Defendants’ Exhibit List

Exhibit “A”      Defendant Thomas J. Farrell’s Answers to Plaintiff’s
                 Interrogatories

Exhibit “B”      Defendant Thomas J. Farrell’s Responses to Plaintiff’s
                 Requests for Admissions

Exhibit “C”      Plaintiff Zachary Greenberg’s Answers to Defendants’
                 Interrogatories

Exhibit “D”      Plaintiff Zachary Greenberg’s Responses to Defendants’
                 Requests for Admissions
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      EXHIBIT “A”
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                      IN THE UNITED STATES DISTRICT
                   COURT FOR THE EASTERN DISTRICT OF
                            PENNSYLVANIA

  ZACHARY GREENBERG,
                                               Plaintiff,

                             v.

                                                              Civil Action No. 2:20-cv-03822
  JOHN P. GOODRICH, in his official capacity as
  Board Chair of The Disciplinary Board of the
  Supreme Court of Pennsylvania; et al.
                                         Defendants.

              DEFENDANT THOMAS J. FARRELL’S ANSWERS TO
                    PLAINTIFF’S INTERROGATORIES

       Defendant, Thomas J. Farrell, submits the following answers to Plaintiff’s

Interrogatories under Federal Rule of Civil Procedure 33:

       1.        Do you or anyone else at ODC ever promulgate, draft, or propose internal

written policy guidance or training for subordinates within ODC to follow in connection

with the bringing and resolution of disciplinary actions?

       ANSWER:               Yes. By way of further response, Respondent does

not interpret this Interrogatory as seeking the production of any

documents. However, to the extent this Interrogatory might be deemed to

incorporate such a request, Respondent objects to the production of ODC

policy guidance and/or training documents on the basis of relevance and

work product protections.

       2.        Have you or anyone else at ODC promulgated, drafted, conveyed, or

proposed internal written policy guidance or training for Pa. Rule 8.4(g), either for the

2020 version or the 2021 version of the rule? If so, please provide:
        Case 2:20-cv-03822-CFK Document 62 Filed 11/16/21 Page 5 of 38




       a.          a list of such training or guidance documents;

       b.          the date on which each document or piece of training or guidance was

promulgated, drafted, conveyed, or proposed;

       c.          a copy of responsive training or guidance documents; or where such
training or guidance is not contained within a document, a brief summary of the training

or guidance.

       ANSWER:              No.

       3.      Do you or anyone else at ODC ever promulgate, draft, convey, or propose

internal verbal policy guidance or training for subordinates within ODC to follow in
connection with the bringing and resolution of disciplinary actions?

       ANSWER:              Yes.

       4.      Have you or anyone else at ODC promulgated, drafted, conveyed or

proposed internal verbal guidance or training for Pa. Rule. 8.4(g), either for the 2020

version or the 2021 version of the rule? If so, please provide:

       a.          the date on which the piece of guidance or training was promulgated,
drafted, conveyed, or proposed;
       b.          a brief summary of the training or guidance.


       ANSWER:              In or around June of 2020, attorneys were advised
to inform the Chief Disciplinary Counsel and/or the Deputy Chief

Disciplinary Counsel of any complaint(s) alleging a violation of Rule 8.4(g).


       5.          Do you or ODC ever promulgate, draft, convey, or propose external
written guidance to the public or members of the Pennsylvania Bar?

       ANSWER:              No. However, either Respondent or his Deputy Chief

will write a monthly newsletter article that appears on the Disciplinary
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Board’s website: https://www.padisciplinaryboard.org/news-

media/archived-newsletters.


       6.          Have you or anyone else at ODC promulgated, drafted, conveyed, or
proposed external written policy guidance for Pa. Rule 8.4(g), either for the 2020 version

or the 2021 version of the rule? If so, please provide:
       a.          a list of such guidance documents;

       b.          the date on which each document or piece of guidance was promulgated,

drafted, conveyed, or proposed;
       c.          a copy of responsive guidance documents; or where such guidance is not

contained within a document, a brief summary of the guidance.


       ANSWER:              The July 2020 newsletter available on the
Disciplinary Board’s website described Old Rule 8.4(g):

https://www.padisciplinaryboard.org/attorney-news-july-2020.


       7.          Please provide the definition of speech or writing that “targets

individuals by harassing or discriminating against an identifiable person” as used in
paragraphs 7 and 16 of the Farrell Declaration.


       ANSWER:              See New Rule 8.4(g) and its comments. Verbal

conduct that “targets individuals by harassing or discriminating against an

identifiable person” includes targeted victimization of a particular person on
the basis of protected status. Moreover, targeting individuals includes

conduct that results in invidiously disparate treatment and abusive or
predatory behavior. Further, such conduct is not based on whether the

listener perceives verbal conduct to be discriminatory or harassing, but
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whether the verbal conduct actually targets a person for discrimination or

harassment.


       8.          Please identify any criteria you intend to use to determine whether
conduct intends to “denigrate” a person on any of the bases listed in Pa. Rule 8.4(g)?


       ANSWER:              See answer to Interrogatory No. 7. In addition,

Respondent intends to consider the language of Rule 8.4(g) and its

comments, as well as case law under similar anti-harassment and anti-
discrimination rules of professional conduct from other jurisdictions.


       9.          Please identify any criteria you intend to use to determine whether

conduct intends to “show hostility or aversion” toward a person on any of the bases listed
in Pa. Rule 8.4(g)?



       ANSWER:              See answer to Interrogatory No. 7.


       10.         Please identify any criteria you intend to use to determine whether
conduct manifests an intention “to treat a person as inferior based on one or more of

characteristics” listed in Pa. Rule 8.4(g)?


       ANSWER:              See answer to Interrogatory No. 7.


       11.         Please identify any criteria you intend to use to determine whether

conduct manifests an intention “to disregard relevant considerations of individual
characteristics or merit because of one or more of the listed characteristics?”
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       ANSWER:              See answer to Interrogatory No. 7.


       12.         To what extent do you believe the Farrell Declaration, and the positions

expressed by you therein, should be ascribed to, and are binding upon:
       a.          You and your future official action;

       b.          Other employees at ODC;
       c.          The Board and its members;

       d.          Potential successors to your position as Chief Disciplinary Counsel?


       ANSWER:              Under the principles of official estoppel, the Farrell

Declaration is binding upon Respondent and his future official actions,
other employees at ODC, and potential successors to his position as Chief

Disciplinary Counsel. It is not binding on the Board and its members,
although the Board would have to consider the Declaration should an

attorney rely on it to argue estoppel or detrimental reliance.


       13.         Whether or not you contend that the Farrell Declaration is binding

upon you, other members of ODC, prosecutors, or your potential successor, please
identify in detail the process, if any, that would be required of you, ODC, or your successor

to amend, revise, or withdraw the positions taken and views expressed in the Farrell
Declaration.

       ANSWER:              There is no set process for amending, revising, or

withdrawing the positions taken in the Farrell Declaration.


       14.         Does ODC ever enter into written contractual agreements promising
not to bring enforcement actions against a particular attorney with respect to particular

conduct?
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      ANSWER:                No.


      15.           Please state any criteria you would use to assess whether a complaint

made under Pa. Rule 8.4(g) is “frivolous,” as would justify dismissal before contacting the
subject attorney.
      ANSWER:                See Respondent’s answers to Interrogatories 7 and

8. By way of further response, as with all allegations of attorney

misconduct, responses to allegations pertaining to Rule 8.4(g) will be
reviewed with reasonable and measured deliberation to determine if it falls

within the Rule. This includes taking into account First Amendment

concerns and whether the alleged conduct rises to the level of targeting an
individual for discrimination and harassment, as opposed to a complainant

being “offended” or interpreting accurately quoting case law, supporting
“offensive” or controversial legal positions, or otherwise engaging in the

conduct described in Plaintiff’s Amended Complaint.



      16.           Please state whether you would consider a complaint frivolous if it was
brought by an audience member at a CLE who perceived a speaker’s response to a

question he or she asked to be targeting, denigrating, and showing hostility or aversion

toward that audience member on the basis of a protected category under Pa. Rule 8.4(g).
      ANSWER:                It is not possible to answer this hypothetical without

more details regarding the interaction, specifically (i) what question the
audience member proposed, and (ii) what the speaker’s response to that

question was. For example, if the speaker, frustrated with the audience
member’s question, called the audience member the “N-word” or the “C-

word,” then this conduct could fall within the bounds of Rule 8.4(g), and a

complaint on those grounds would not be considered frivolous. If, however,
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the speaker responded to the audience member’s question by accurately

quoting case law, supporting “offensive” or controversial legal positions, or
otherwise engaging in the conduct described in Plaintiff’s Amended

Complaint, then any complaint on these bases would be considered
frivolous. As noted above, the issue is not whether the listener perceives

verbal conduct to be discriminatory or harassing, but whether the verbal
conduct actually targets a person for discrimination or harassment.



       17.         In coming to your interpretation of Rule 8.4(g), as specified in the
Farrell Declaration, did you confer with any other defendants in this litigation? If so,

please identify which defendants.
       ANSWER:               No.



       18.         Please identify the process in detail undertaken by ODC in response to

the filing of a complaint.
       ANSWER:               Every complaint is assigned a file number. Intake

Counsel-in-Charge or the intake paralegal checks the prior disciplinary
history of the respondent to determine whether to assign the case to intake

counsel for initial review or to trial counsel in the appropriate district

(generally, the district of the respondent’s office).
       If assigned to intake counsel, s/he conducts any necessary

investigation and legal analysis and recommends dismissal of the complaint
or transfer to trial counsel. Both recommendations require the approval of

Intake Counsel-in-charge. Occasionally, intake counsel may contact the
respondent in an effort to resolve the matter quickly. For example, if the

complaint is that the respondent has not returned client communications,

intake counsel may contact the respondent, ask him to respond to the
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client, and, on proof that he has, recommend dismissal of the complaint.

      If/when assigned to trial counsel, any additional investigation and
analysis is conducted. Thereafter, trial counsel recommends dismissal of

the complaint or sending a DB-7 Letter Request for Statement of
Respondent’s Position. Both recommendations require approval of a

District Counsel-in-charge. The DB-7 may demand the production of those
records required to be maintained under Pa.R.P.C. 1.15(c), Pa.R.D.E.

221(e), and D.Bd. Rule 91.177(a)(generally, records relating to client funds

and property and fee agreements). Trial counsel also may subpoena other
records from the respondent or third parties, typically the respondent’s

financial institution. After a DB-7 is sent and the time for responding has
elapsed, trial counsel recommends dismissal or seeking discipline.

      A trial counsel’s recommendation to dismiss requires approval of a
District Counsel-in-charge. A trial counsel’s recommendation to seek any

form of discipline requires the approve of a District Counsel-in-charge,

Chief Disciplinary Counsel, a Reviewing Member of a Hearing Committee
and, in some instances, a three-member panel of the Disciplinary Board.

      If the Disciplinary Counsel decides that the Complaint should be
dismissed, he will prepare a form DB-4 to the Counsel in Charge for

approval. There is no further internal review of the dismissal unless the
complainant requests reconsideration.

      Once the case is dismissed, the Disciplinary Counsel writes the

Complainant to notify him of the dismissal. If the Respondent had been
informed of the investigation, the Disciplinary Counsel also writes the

Respondent to notify him of the dismissal. If the investigation disclosed
practices that concern ODC but do not rise to the level of a violation

requiring discipline, Disciplinary Counsel may include a letter of concern
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or education which suggests changes to the Respondent’s practices.

      A complainant's request to reconsider dismissal of a complaint must
be in writing and should specify the reasons therefor and include evidence

not previously brought to ODC's attention. The Counsel-in-Charge or
Disciplinary Counsel who approved assigned counsel's recommendation to

dismiss the complaint shall review the request and respond in writing
within a reasonable time of receiving the request. If the request is denied,

complainant may seek a second review which shall be performed by Deputy

Chief Disciplinary Counsel, who shall respond in writing within a
reasonable time of receiving the request. Deputy Chief Disciplinary

Counsel's review shall be final and there is no appeal from it, nor is the
Board notified of dismissals. The entire process described above is

confidential and non-public.
      If the trial counsel, her Counsel-in-Charge, the Chief Disciplinary

Counsel, and the Reviewing Member of the Hearing Committee all agree

that a petition for discipline seeking public discipline is appropriate, trial
counsel will prepare a Petition for Discipline. After review and approval by

the Counsel-in Charge, the Petition is served on the respondent. It becomes
a matter of public record after the respondent answers or the time to

answer expires. The case then proceeds to hearing before a three-member
hearing committee and review by the Board and the Supreme Court.

      At any time in the process, the parties can agree to proceed via a

consent petition for a specified type and duration of discipline. Even in that
case, the Board and Supreme Court must review and approve (or reject) the

agreed-upon disposition, unless the consented disposition is a public
reprimand, in which case the review ends with the Board.
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                                  /s/ Megan L. Davis
                                  MEGAN L. DAVIS, ESQUIRE
                                  Attorney I.D. No. 321341
                                  MICHAEL P. DALEY, ESQUIRE
                                  Attorney I.D. No. 77212
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                                  Philadelphia, PA 19102-1921
                                  215-560-6326
                                  Counsel for Defendant, Thomas J. Farrell
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                      IN THE UNITED STATES DISTRICT
                   COURT FOR THE EASTERN DISTRICT OF
                            PENNSYLVANIA

  ZACHARY GREENBERG,
                                                   Plaintiff,

                              v.

                                                                    Civil Action No. 2:20-cv-03822
  JOHN P. GOODRICH, in his official capacity as
  Board Chair of The Disciplinary Board of the
  Supreme Court of Pennsylvania; et al.
                                         Defendants.


                                 CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that on November 1, 2021, she served a true

and correct copy of the attached Answers to Plaintiff's Interrogatories and Answers to Plaintiff’s

Requests for Admissions, by electronic mail to:


Adam Schulman
Hamilton Lincoln Law Institute
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Washington, D.C. 20006
adam.shulman@hlli.org
                                                     /s/ Megan L. Davis
                                                     MEGAN L. DAVIS, ESQUIRE
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       EXHIBIT “B”
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                    IN THE UNITED STATES DISTRICT
                 COURT FOR THE EASTERN DISTRICT OF
                          PENNSYLVANIA

  ZACHARY GREENBERG,
                                             Plaintiff,

                           v.

                                                             Civil Action No. 2:20-cv-03822
  JOHN P. GOODRICH, in his official capacity as
  Board Chair of The Disciplinary Board of the
  Supreme Court of Pennsylvania; et al.
                                         Defendants.

            DEFENDANT THOMAS J. FARRELL’S ANSWERS TO
               PLAINTIFF’S REQUESTS FOR ADMISSIONS

      Defendant, Thomas J. Farrell, submits the following answers to Plaintiff’s

Requests for Admissions under Federal Rule of Civil Procedure 36:

       1.     Admit that the Farrell Declaration does not waive the right of ODC to bring

 enforcement actions in any specific circumstances.

      ANSWER:             Respondent objects to this Request as vague.

Specifically, Respondent is unclear as to what the term “waive” and “any

specific circumstances” means in the context of this Request. To the extent

Plaintiff seeks an admission that ODC is not estopped from taking any

position contrary to the Farrell Declaration, said request is denied; ODC is,

in fact, estopped from taking any position contrary to those presented in

the Farrell Declaration.

      2.      Admit that the Farrell Declaration does not commit ODC not to bring

enforcement actions in any specific circumstances.
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      ANSWER:              Denied. See response to Request No. 1.

      3.      Admit that the Farrell Declaration is not binding on you in future

enforcement actions brought or supervised by you.

      ANSWER:              Denied. See response to Request No. 1.

      4.      Admit that the Farrell Declaration does not and would not constitute a

binding agreement between the ODC and any individual attorney requiring the ODC to

decline bringing an enforcement action against that attorney with respect to particular

conduct?

      ANSWER:              Denied. See response to Request No. 1.

      5.      Admit that the Farrell Declaration is not binding on your successors as Chief

Disciplinary Counsel in future enforcement actions brought or supervised by them.

      ANSWER:              Denied. Respondent’s successors are estopped from

taking any enforcement actions in contravention of the Farrell Declaration,

where an attorney relies on it to argue estoppel or detrimental reliance.

      6.      Admit that the Farrell Declaration is not binding on the Board or its

members.

      ANSWER:              Admitted.

      7.      Admit that the Board has legal authority and discretion to adjudicate

enforcement cases that ODC dismisses.

      ANSWER:              Denied. Pursuant to D. Bd. Rules § 89.32, the Board

cannot review complaints or otherwise adjudicate complaints that the ODC
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dismisses before a Petition for Discipline is filed.

      8.       Admit that the Farrell Declaration is not binding on individual judges of

the Commonwealth of Pennsylvania’s court system.

      ANSWER:              Admitted.

      9.       Admit that the Farrell Declaration contains your own personal views and

does not represent the views of the Board or its members.

      ANSWER:              Denied.     It   is   unknown     whether     the    Farrell

Declaration represents the views of the Board or its members. The Farrell

Declaration is the official position of the ODC, and therefore cannot

accurately be described as the “personal views” of the Respondent.

      10.      Admit that the Board played no role in the drafting of the Farrell

Declaration.

      ANSWER:              Admitted.

      11.      Admit that the Board has the legal authority and discretion to remove you

from your official position as Chief Disciplinary Counsel.

      ANSWER:              Admitted.

      12.      Admit that the First Amendment protects speech that may “denigrate”

individuals.

      ANSWER:              Admitted that the First Amendment may, but does

not always, protect such speech depending upon the context and setting, as

held in caselaw. Under appropriate circumstances, such speech can
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constitute a violation of criminal law (e.g., prohibitions on disorderly

conduct, harassment, terroristic threats), or civil law (e.g., hostile work

environment discrimination). Also, with respect to attorneys in the practice

of law, such speech may be a violation not only of Rule 8.4(g) or its equivalent

(e.g., In the Matter of Abrams, 488 P.3d 1043 (Colo. 2021)), but also of other

disciplinary rules, such as RPC 4.4(a) (see, e.g., Office of Disciplinary

Counsel v. John J. Koresko, V, 119 DB 2013 (D.Board 2015), aff’d per curiam,

2175 D.D. 3 (Pa. 2015); Office of Disciplinary Counsel v. Charles Malloy, III,

178 DB 2014 (D.Board 2016), aff’d per curiam, 2267 D.D. 3 (Pa. 2016)) and

RPC 8.2(a) (protecting judges against recklessly false statements regarding

their qualifications or integrity).

       13.     Admit that the First Amendment protects speech that may “show hostility

or aversion toward a person.”

       ANSWER:              See response to Request No. 12.

       14.     Admit that any individual who files a complaint with ODC may publicize

the filing of that complaint, the substance of that complaint, or the details and facts of any

subsequent investigation, regardless of whether ODC or the Board would otherwise do so.

       ANSWER:              Admitted, with the exception that generally, the

complainant is not informed of the details and facts of the investigation.

       15.     Admit that ODC has no mechanism for Pennsylvania-licensed attorneys to

seek advisory guidance from ODC.

       ANSWER:              Admitted.
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                                  /s/ Megan L. Davis
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                      IN THE UNITED STATES DISTRICT
                   COURT FOR THE EASTERN DISTRICT OF
                            PENNSYLVANIA

  ZACHARY GREENBERG,
                                                   Plaintiff,

                              v.

                                                                    Civil Action No. 2:20-cv-03822
  JOHN P. GOODRICH, in his official capacity as
  Board Chair of The Disciplinary Board of the
  Supreme Court of Pennsylvania; et al.
                                         Defendants.


                                 CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that on November 1, 2021, she served a true

and correct copy of the attached Answers to Plaintiff's Interrogatories and Answers to Plaintiff’s

Requests for Admissions, by electronic mail to:


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                                                     /s/ Megan L. Davis
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       EXHIBIT “C”
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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ZACHARY GREENBERG,
                                              Plaintiff,

                           v.

                                                              Civil Action No. 2:20-cv-03822
 JOHN P. GOODRICH, in his official capacity as
 Board Chair of The Disciplinary Board of the
 Supreme Court of Pennsylvania, et al.
                                        Defendants.

PLAINTIFF ZACHARY GREENBERG’S RESPONSES AND OBJECTIONS TO
               DEFENDANTS’ INTERROGATORIES

       Pursuant to Federal Rule of Civil Procedure 33, Plaintiff Zachary Greenberg hereby

submits the following responses and objections to Defendants’ Interrogatories:

                   GENERAL STATEMENT AND OBJECTIONS

       The following responses are based on information presently available to Plaintiff

and are made without prejudice to the right to utilize subsequently discovered facts,

witnesses, documents, things, or legal arguments. Plaintiff reserves the right to modify

and/or supplement these discovery responses if and to the extent required or permitted

under the Federal Rules of Civil Procedure.
       The continuing and specific objections of Plaintiff to the Requests are subject to all

objections as to competence, relevance, materiality, propriety, admissibility, and the

exclusion of any evidence disclosed herein if the evidence were produced and sought to

be introduced into evidence in Court.

       Plaintiff objects to the definition of “document” to the extent that it purports to

impose obligations greater than those set forth in the Federal Rules of Civil Procedure

and to the extent it calls for documents protected by the attorney-client privilege, attorney

work-product doctrine, or any other applicable privilege.
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                                     RESPONSES

Interrogatory No 1: State the date, title, sponsoring entity, and location of each

Continuing Legal Education (CLE) event identified in paragraphs 12-14 and 16 in the

Stipulated List of Facts. For each, describe the topics you discussed and provide a copy of

PowerPoint slides, handouts, outlines, agenda or schedules, or other documents upon

which you relied in giving your presentation(s) or that you distributed in connection with

your presentation. Also produce any recordings of the presentation.

RESPONSE:            Plaintiff provides the following responsive information and

documents:

       •      The 2017 CLE referenced in paragraph 12 of the Stipulated List of Facts was

              presented at the First Amendment Lawyers Association (FALA) conference

              in San Diego, California and was titled Citizens United: Two Presidential

              Elections Later. The presentation was sponsored by FALA and discussed

              the Supreme Court’s decision in Citizens United v. FEC, 558 U.S. 310

              (2010). A copy of the presentation slides is attached to these Responses.

       •      The 2018 CLE referenced in paragraph 13 of the Stipulated List of Facts was

              presented at the FALA conference in Denver, Colorado and was titled ABA

              Rule 8.4(g): A Speech Code for Lawyers. The presentation was sponsored
              by FALA and discussed ABA Model Rule 8.4(g). A copy of the presentation

              slides is attached to these Responses.

       •      The 2018 CLE referenced in paragraph 14 of the Stipulated List of Facts was

              presented at Overbrook Golf Club in Villanova, Pennsylvania and was titled

              Free Speech on Campus. The presentation was sponsored by Freedom to

              Believe and discussed free speech on college campuses. A copy of the

              presentation slides is attached to these Responses.

       •      The 2021 CLE referenced in paragraph 16 of the Stipulated List of Facts The
              presentation was titled Update on Defeating American Bar Association


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                Model Rule 8.4(g). It was sponsored by FALA and discussed Pennsylvania’s

                version of Rule 8.4(g) and the First Amendment. A copy of the presentation

                slides is attached to these Responses.



Interrogatory No 2: Paragraphs 17, 18, and 62 of the Stipulated List of Facts and

paragraph 15 of Plaintiff’s Declaration refer to Plaintiff’s intentions to speak and present

at future CLEs. State the date, title, and sponsoring entity of every future CLE event at

which you are scheduled to present. For each, describe the topics you intend to discuss

and provide a copy of any PowerPoint slides, handouts, outlines, or other documents

upon which you intend to rely in giving your presentation(s) or that you intend on

distributing.

RESPONSE:             Plaintiff interprets this Interrogatory as only seeking information

relating to those future plans which Plaintiff currently holds and that it does not ask him

to speculate as to what future CLEs he might present. Subject to that interpretation,

Plaintiff responds that he is currently scheduled to present a CLE on October 27, 2021,

titled Pennsylvania Rule 8.4(g) and the First Amendment. The CLE will be presented at,

and sponsored by, the Jenkins Law Library in Philadelphia, Pennsylvania. A copy of the

presentation slides is attached hereto.


Interrogatory No 3: Has anyone ever reported you to any attorney disciplinary board

or attorney licensing body in any state in which you are licensed based on statements you

made while presenting at a CLE event? If so, please identify the individual, provide a copy

of the complaint and any information and documents relating to your response and the

disposition of the matter and describe the substance of their complaint(s) against you.

RESPONSE:             Plaintiff objects to this Interrogatory as unduly burdensome to the

extent that it requires Plaintiff to inquire outside of his own personal information whether
any such complaints or reports have been made, and because such information is equally


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available to and accessible by Defendants. Subject to and without waiving the foregoing

objection, Plaintiff responds that he has no personal knowledge of any such reports.



Interrogatory No. 4: Since graduating from law school, provide your employment

history, including dates of employment, entity, job title, and duties.

RESPONSE:            Plaintiff has been employed at the Foundation for Individual Rights

in Education (FIRE) since graduation from law school. He has held the following

positions:

Justice Robert H. Jackson Legal Fellow, September 2016 – June 2018

       Duties:       Authoring law review articles on issues relevant to FIRE and

                     providing legal assistance to FIRE programs.

Program Officer, Individual Rights Defense Program, June 2018 – November 2020

Senior Program Officer, Individual Rights Defense Program, November 2020 - present

       Duties:       Corresponding with universities on issues relevant to FIRE’s purpose

                     and mission; drafting blog posts for FIRE’s Newsdesk; submitting

                     op-eds, letters to the editor, and other opinions pieces on FIRE issues

                     to media organizations; representing FIRE in speaking engagements

                     nationwide as necessary; preparing and presenting continuing legal
                     education courses to lawyers, practitioners, and professors on First

                     Amendment issues; and conducting relevant legal research.



Interrogatory No. 5: List what bars you are admitted to, including dates of admission,

and whether you are in good standing.

RESPONSE:            Plaintiff is a member in good standing of the State Bars of New York

(admitted September 13, 2017) and Pennsylvania (admitted May 14, 2019).




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Interrogatory No. 6: In ¶ 85 of your Amended Complaint, you allege: “After a May

2018 CLE presentation by Greenberg in Villanova, Pennsylvania, attorneys told him his

presentation on his interpretation of the legal limits of a university’s power to punish

student online expression deemed offensive, prejudiced, and hateful was in and of itself

offensive.” With respect to this allegation, please state:

       1.     The approximate number of attorneys who expressed that your

              presentation was “offensive”;

       2.     The name and contact information for each attorney;

       3.     What, precisely, these attorneys believed was “offensive” about your

              presentation;

       4.     Whether these attorneys expressed that they were intentionally harassed or

              discriminating against by you;

       5.     Whether, to the best of your knowledge, any of these attorneys reported you

              to any attorney disciplinary body on the basis of your presentation; and

       6.     Whether any of these attorneys reduced their comments to writing. If so,

              please provide a copy of the written comments.

       7.     What was the disposition or outcome of the complaint (if there was one)?

RESPONSE:            Plaintiff objects to this Interrogatory on the ground that subpart 1 is
vague, overbroad, and seeks information outside his knowledge or possession. Plaintiff

will respond with respect to his personal knowledge of attorneys who expressed to him

that his presentation was “offensive.” Plaintiff also objects to this Interrogatory on the

grounds that subpart 2 seeks information outside that available to him. Plaintiff also

objects to subpart 3 to the extent that it asks Plaintiff to speculate about any individual’s

subjective belief. Plaintiff interprets this subpart to instead seek responsive information

related to anything such individuals directly expressed to him. Plaintiff further objects to

subpart 4 as vague and unduly overbroad because it fails to define the terms “harassed”
and “discriminating,” which are also ambiguous in nature, and because it is not limited to


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expressions made to or heard by him. Subject to and without waiving these objections,

Plaintiff responds as follows:

       1.       Interpreting the interrogatory as applying to information expressed directly

                to Plaintiff, one;

       2.       Unknown;

       3.       Interpreting the interrogatory as applying to information expressed directly

                to Plaintiff, the discussion of hateful words, “hate speech,” and how the First

                Amendment protects such expressions;

       4.       Interpreting the interrogatory as whether it was expressed directly to

                Plaintiff, no;

       5.       Unknown;

       6.       Unknown;

       7.       Unknown.



Interrogatory No. 7: In ¶ 86 of your Amended Complaint, you allege: “After a

September 2018 presentation by Greenberg at the University of New Hampshire on free

speech on campus, students approached Greenberg and told him that the content of his

presentation and the ideas he expressed were offensive.” With respect to this allegation,
please state:

       1.       The approximate number of students who expressed that your presentation

                was “offensive”;

       2.       The name and contact information for each student;

       3.       What, precisely, these students believed was “offensive” about your

                presentation;

       4.       Whether these students expressed that they were intentionally harassed or

                discriminating against by you;




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       5.     Whether, to the best of your knowledge, any of these students reported you

              to any attorney disciplinary body on the basis of your presentation; and

       6.     Whether any of these students reduced their comments to writing. If so,

              please provide a copy of the written comments.

RESPONSE:            Plaintiff objects to this Interrogatory on the ground that subpart 1 is

vague, overbroad, and seeks information outside his knowledge or possession. Plaintiff

will respond with respect to his personal knowledge of students who expressed to him

that his presentation was “offensive.” Plaintiff also objects on the grounds that subpart 2

seeks information outside that available to him. Plaintiff also objects to subpart 3 to the

extent that it asks Plaintiff to speculate about any individual’s subjective belief. Plaintiff

interprets this subpart to instead seek responsive information related to anything such

individuals directly expressed to him. Plaintiff further objects to subpart 4 as vague and

unduly overbroad because it fails to define the terms “harassed” and “discriminating,”

which are ambiguous in nature, and because it is not limited to expressions made to or

heard by him. Subject to and without waiving these objections, Plaintiff responds as

follows:

       1.     Interpreting the interrogatory as applying to information expressed directly

              to Plaintiff, one;
       2.     Unknown;

       3.     Interpreting the interrogatory as applying to information expressed directly

              to Plaintiff, the discussion of hateful words, “hate speech,” and how the First

              Amendment protects such expressions;

       4.     Interpreting the interrogatory as whether it was expressed directly to

              Plaintiff, no;

       5.     Unknown;

       6.     Unknown.




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Interrogatory No. 8: In ¶ 87 of your Amended Complaint, you allege: “After a June

2019 virtual presentation by Greenberg with college administrators on fraternity and

sorority student group rights, attendees provided feedback to Greenberg that the content

of his presentation and the ideas he expressed were offensive.” With respect to this

allegation, please state:

       1.     The approximate number of students who expressed that your presentation

              was “offensive”;

       2.     The name and contact information for each student;

       3.     What, precisely, these students believed was “offensive” about your

              presentation;

       4.     Whether these students expressed that they were intentionally harassed or

              discriminating against by you;

       5.     Whether, to the best of your knowledge, any of these students reported you

              to any attorney disciplinary body on the basis of your presentation; and

       6.     Whether any of these students reduced their comments to writing. If so,

              please provide a copy of the written comments.

RESPONSE:            Plaintiff objects to this Interrogatory on the ground that subpart 1 is

vague, overbroad, and seeks information outside his knowledge or possession. Plaintiff
will respond with respect to his personal knowledge of students who expressed to him

that his presentation was “offensive.” Plaintiff also objects on the grounds that subpart 2

seeks information outside that available to him. Plaintiff also objects to subpart 3 to the

extent that it asks Plaintiff to speculate about any individual’s subjective belief. Plaintiff

interprets this subpart to instead seek responsive information related to anything such

individuals directly expressed to him. Plaintiff further objects to subpart 4 as vague and

unduly overbroad because it fails to define the terms “harassed” and “discriminating,”

which are ambiguous in nature, and because it is not limited to expressions made to or




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heard by him. Subject to and without waiving these objections, Plaintiff responds as

follows:

       1.     Interpreting the interrogatory as applying to information expressed directly

              to Plaintiff, two;

       2.     Unknown;

       3.     Interpreting the interrogatory as applying to information expressed directly

              to Plaintiff, the content of certain signs that hung outside some fraternities

              and sororities houses, which contain allegedly offensive expression, and the

              First Amendment protection of these signs;

       4.     Interpreting the interrogatory as whether it was directly expressed to

              Plaintiff, no;

       5.     Unknown;

       6.     Unknown.



Interrogatory No. 9: State whether at any CLE presentation Plaintiff has been accused

of intentionally targeting an individual for harassment or discrimination. If the answer is

“yes,” provide the following:

       1.     The date, title, sponsoring entity, and location of the CLE;
       2.     The name and contact information for the individual;

       3.     Whether, to the best of your knowledge, you were reported to any attorney

              disciplinary body based upon this;

       4.     Whether any of these accusations were reduced to writing. If so, please

              provide a copy of the written comments.

       5.     What was the disposition or outcome of the complaint (if there was one)?

RESPONSE:            Plaintiff objects to this Interrogatory on the grounds that it is vague

and unduly overbroad because it fails to define the terms “harassment” and
“discrimination,” which are ambiguous in nature, and because it is not limited to


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accusations of which he personally is aware. Subject to and without waiving the foregoing

objection, Plaintiff responds that he is not personally aware of any such accusations that

use those terms.



       I declare under penalty of perjury that the foregoing responses are true and correct.

                                              /s/ Adam E. Schulman
                                              Adam E. Schulman (PA Bar No. 309749)




                             CERTIFICATE OF SERVICE

       I certify that I caused the foregoing to be served upon the following parties by

electronic mail:


   Thomas J. Farrell
   c/o Michael Daley
   Michael.Daley@pacourts.us


 Dated: October 27, 2021                      /s/ Adam E. Schulman
                                              Adam E. Schulman (PA Bar No. 309749)
                                              HAMILTON LINCOLN LAW INSTITUTE
                                              1629 K Street NW, Suite 300
                                              Washington, DC 20006
                                              adam.schulman@hlli.org
                                              (610) 457-0856

                                              Attorney for Plaintiff Zachary Greenberg




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      EXHIBIT “D”
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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ZACHARY GREENBERG,
                                              Plaintiff,

                          v.

                                                             Civil Action No. 2:20-cv-03822
 JOHN P. GOODRICH, in his official capacity as
 Board Chair of The Disciplinary Board of the
 Supreme Court of Pennsylvania, et al.
                                        Defendants.

PLAINTIFF ZACHARY GREENBERG’S RESPONSES AND OBJECTIONS TO
            DEFENDANTS’ REQUESTS FOR ADMISSION

      Pursuant to Federal Rule of Civil Procedure 36, Plaintiff Zachary Greenberg

responds or objects to the following Requests for Admission:



                   GENERAL STATEMENT AND OBJECTIONS

      The following responses are based on information presently available to Plaintiff

and are made without prejudice to the right to utilize subsequently discovered facts,

witnesses, documents, things, or legal arguments. Plaintiff reserves the right to modify

and/or supplement these discovery responses if and to the extent required or permitted
under the Federal Rules of Civil Procedure.

      The continuing and specific objections of Plaintiff to the Requests are subject to all

objections as to competence, relevance, materiality, propriety, admissibility, and the

exclusion of any evidence disclosed herein if the evidence were produced and sought to

be introduced into evidence in Court.

      No incidental or implied admissions are intended by these responses. That Plaintiff

has objected or responded to any Request shall not be deemed an admission that Plaintiff

accepts or admits the existence of any facts set forth or assumed by such Request or that
such objection or response constitutes admissible evidence. The fact that Plaintiff has
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responded to part or all of any Request is not intended to and shall not be construed as a

waiver by Plaintiff of any part of any objection or any Request.

                                      RESPONSES

       1.     Admit that out of the four CLEs described in paragraphs 11-14 and 16 of the

Stipulated List of Facts, the only time that anyone stated that Plaintiff’s presentation was

“offensive” was at the May 2018 Villanova presentation.

RESPONSE:            Plaintiff objects to this Request as overbroad because Plaintiff has no

                     knowledge of all statements made by “anyone” or even those who

                     attended or have knowledge of his CLEs. Subject to and without

                     waiving the foregoing objection, Plaintiff admits that out of the four

                     CLEs described in paragraphs 11-14 and 16 of the Stipulated List of

                     Facts the May 2018 Villanova event was the only one at which an

                     attendee expressed offense directly to Plaintiff regarding his

                     presentation.

       2.     Admit that Plaintiff is not aware that anyone has made a disciplinary

complaint against him based upon his CLE presentations.

RESPONSE:            Plaintiff objects to the term “disciplinary complaint” as vague and

                     overbroad. Subject to and without waiving the foregoing objection,
                     Plaintiff admits that he is not aware that anyone has filed a complaint

                     of unethical conduct or other misconduct with the Pennsylvania

                     Office of Disciplinary Counsel against him based upon his CLE

                     presentations.

       3.     Admit that in future CLE presentations, Plaintiff does not intend to target

individuals for harassment or discrimination.

RESPONSE:            Plaintiff objects to this Request as vague and overbroad because it

                     fails to define the terms “harassment” and “discrimination.” The fact
                     that these terms are amenable to a variety of definitions and


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                   interpretations is at the heart of Plaintiff’s complaint and, therefore,

                   Plaintiff is unable to response to this Request as written. Subject to

                   and without waiving the foregoing objections, Plaintiff admits that

                   he has no intention to intimidate, denigrate, show aversion or

                   hostility, treat a person as inferior, or disregard relevant

                   considerations of individual characteristics or merit because of any

                   of the twelve bases enumerated in Pa. Rule 8.4(g).

      4.     Admit that in prior CLE presentations, Plaintiff did not target individuals

for harassment or discrimination.

RESPONSE:          Plaintiff objects to this Request as vague and overbroad because it

                   fails to define the terms “harassment” and “discrimination.” The fact

                   that these terms are amenable to a variety of definitions and

                   interpretations is at the heart of Plaintiff’s complaint and, therefore,

                   Plaintiff is unable to response to this Request as written. Subject to

                   and without waiving the foregoing objections, Plaintiff admits that

                   he has never intended to intimidate, denigrate, show aversion or

                   hostility, treat a person as inferior, or disregard relevant

                   considerations of individual characteristics or merit because of any
                   of the twelve bases enumerated in Pa. Rule 8.4(g).




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                           CERTIFICATE OF SERVICE

       I certify that I caused the foregoing to be served upon the following parties by

electronic mail:


   Thomas J. Farrell
   c/o Michael Daley
   Michael.Daley@pacourts.us

 Dated: October 27, 2021                       /s/ Adam E. Schulman
                                               Adam E. Schulman (PA Bar No. 309749)
                                               HAMILTON LINCOLN LAW INSTITUTE
                                               1629 K Street NW, Suite 300
                                               Washington, DC 20006
                                               adam.schulman@hlli.org
                                               (610) 457-0856

                                               Attorney for Plaintiff Zachary Greenberg




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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ZACHARY GREENBERG                      :
                                       :      CIVIL ACTION
                    Plaintiff          :
                                       :      NO. 2:20-CV-3822
             v.                        :
                                       :
JOHN P. GOODRICH, in his               :
official capacity as Chair of the      :      Hon. Chad F. Kenney
Disciplinary Board of the Supreme      :
Court of Pennsylvania, et al.          :
                                       :
                    Defendants         :


                                Certificate of Service

       The undersigned certifies that on November 16, 2021, he caused the

 foregoing Declaration to be served via CM/ECF on all counsel of record




                                       /S/ Michael Daley
                                       MICHAEL DALEY, ESQUIRE
                                       Attorney I.D. No. PA 77212
                                       Supreme Court of Pennsylvania
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